USA v. ___| KATHLEEN DOMINY DATE: __May | Bar 1

 

CR ___02-CR-1171 (S-2) (LDW)

STANDARD PLEA!

THE GOVERNMENT IS TO FIRST COMPLETE ITEMS 22 & 23.

EACH DEFENDANT, BEFORE TAKING A PLEA, IS

OBLIGATED TO READ AND COMPLETE THE QUESFibWs= D
AND ANSWER AS SET FORTH BELOW US DISTRICT DN.

x wey 1S 20 x
1. Ms.__Dominy , before acqeptnng YOLANDRrAeE
number of questions I must ask to assure that it is a valid plea. If you do not understand any of
my questions, please say so and I will reword the question.
2. Will the Clerk please swear the defendant.
3. Do you understand that, having been sworn, your answers to my questions will
be subject to the penalties of perjury or of making a false statement if you do not answer ‘

truthfully? © YES Y NO__
4, What is your full name? Kn LY heen oou “a

5. How old are you? S 5

6. Are you a citizen of the United States? YES x NO

 

1March 2, 2010 - Revised.
7. If you are not a citizen of the United States, have you discussed with counsel

whether or not your guilty plea will have iy effect on your ability to remain in this country?

a

8. Are you satisfied that you understand the effect that a guilty plea in this case

YES NO hé
may have on your right to remain in this country after any sentence is served?
YES NO
9, What is the highest schooling or education you have had? Le /
=

10. Are you presently or have you been recently under the care of a physician or
psychiatrist? YES YY NO me

11. In the past 24 hours, have you taken any narcotic drugs, medicine or pills or
drunk any alcoholic beverage? YES Y NO as

Have you ever been hospitalized or treated for narcotic addiction?

YES NO_Y
Is your mind clear? YES ; /___ NO

Do you understand what is going on here? YES J vo ‘
12. TODEFENSE COUNSEL:
Have you discussed this matter with your client? YES 1 NO__

Does he understand the rights he would be waiving by pleading guilty?

YES ho

Is he capable of understanding the nature of these proceedings? YES “nw Oo.
Do you have any doubt as to the defendant’s competency to plead at this time?

YES___ NO
DEFENDANT WILL ANSWER
13. You have a right to plead not guilty. Do you understand? YES An O _
14. If you plead not guilty, under the constitution and laws of the United
States you are entitled to a speedy and public trial by jury with the assistance of counsel on the
charges. Do you understand? YES SL NO_

15. At the trial, you would be presumed to be innocent and the government would
have to overcome that presumption and prove you guilty by competent evidence and beyond a
reasonable doubt and you would not have to prove that you are innocent. And if the government
failed, the jury would have the duty to find you not guilty. Do you understand? YES x NO __

16. In the course of the trial, the witnesses for the government have to come to ,
Court and testify in your presence and your counsel has the right to cross-examine the witnesses
for the government, to object to evidence offered by the government and to offer evidence on
your behalf. Do you understand? YES YL. NO.

17. At the trial, while you would have the right to testify if you choose to do so,
you would not be required to testify. Under the Constitution of the United States, you cannot be
compelled to incriminate yourself. If you decided not to testify, the Court would instruct the jury
that they could not hold that against you. Do you understand? YES ~~ NO.

18. If you plead guilty and if I accept the plea, you will be giving up your
constitutional rights to a trial and the other rights I have just discussed. There will be no further
trial of any kind and no right to appeal or collaterally attack at any time question whether you are
guilty or not. A judgment of guilty will be entered on the basis of your guilty plea which
judgment can never be challenged. However, you have the right to appeal with respect to

sentence. Do you understand? YES S NO
19. If you plead guilty, I will have to ask you questions about what you did in

order to satisfy myself that you are guilty of the charge(s) to which you seek to plead guilty and

you will have to answer my questions and acknowledge your guilt. Thus, you will be giving up

your right not to incriminate yourself. Do you understand? YES _j/ NO ,

20. Are you willing to give up your right to a trial and the other rights I have just

discussed? YES NO

and sentence?

(THE GOVERNMENT WILL ANSWER FIRST)

21. What agreement, if any, do you have with the government concerning the plea

(THE GOVERNMENT WILL ANSWER FIRST.)
22. The government is to list whether there is any waiver of appeal, or other
waiver of rights included in the plea agreement.
Paragraph 1 - the defendant will waive her trial rights and plead guilty to Count
One of the current indictment, ‘
Paragraph 2 - the defendant stipulates to the Sentencing Guidelines calculation set
forth in the plea agreement,
Paragraph 4 - the defendant agrees that she will not file an appeal or otherwise
challenge the conviction or sentence, via 28 U.S.C. Sect. 2255 or any other
provision, if the Court imposes a sentence of 41 months or less,
Paragraph 4 - the defendant waives all defenses based on the statute of limitations

and venue with respect to any prosecution that is not already time barred in the

event that (a) the defendant’s conviction is later vacated for any reason, (b) the
defendant violates this agreement, or (c) the defendant’s plea is later withdrawn,

Paragraph 4 - the defendant waives additional discovery.

23. The Government to fill in the elements of the crime charged.

Count One (Health Care Fraud)

a) On or about and between September 4, 1998 and January 10, 2002;

b) The defendant, together with others, executed a scheme to defraud health care
benefit programs, to wit: the insurance companies named in the indictment;

c) And to obtain money and property from those insurance companies by means of
materially false and fraudulent pretenses and representations;

d) In connection with the delivery of and payment for health care benefits and_;

Services;

 

e) The defendant did so knowingly and willfully.

DEFENDANT WILL ANSWER

24. Are you aware of the elements of the crime which you are charged and as to
which you wish to plead guilty? YES SL. NO

25. Have you discussed with your counsel the charge(s) and the (Superseding)
indictment/information to which you intend to plead guilty? YES LS. NO

26. Do you understand the charge(s) in the (Superseding) indictment/information
which you are pleading guilty to? YES NO_

27. Do you know the maximum sentence and fine I might impose on each of the

charges to which you are seeking to plead guilty? YES Y NO
28. The maximum possible penalty under Count _One_ is _ 10 years of

imprisonment plus a fine of $.250,000 or twice the pecuniary gain or loss, whichever is higher .
(If more than one count to which defendant intends to plea, follow same procedures with respect
to each count.)

Do you realize there is a $100 Special Assessment Fine for each Count?

(Corporate defendant is a $400.00 Special Assessment Fine for each Count.)

YES NO.

Do you realize the Court may order restitution if it so directs? YES SL NO_¢

Also, do you realize that if any jail time is imposed, a period of __ 3 years of
Supervised Release may be imposed? YES __U_NO

29.(a) Haye you discussed the Sentencing Guidelines with your attorney?

YES vA NO

(b) Do you understand that the Sentencing Guidelines are not mandatory, but that,
in sentencing, the District Court is required to consider the applicable Guidelines range along with
the factors listed in 18 U.S.C. § 3553(a)?

YES NO

(c) Has your attorney explained the factors listed in 18 USC 3553(a)?

yEs ““_NO

(d) Also do you realize that if the sentence is more severe that you expected you
will be bound by your va and will not be permitted to withdraw it?

YES NO

30. Do you have any questions you would like to ask me about the wa

or your rights, or anything else relating to this matter? YES NO

31. PLEA

1. Are you ready to plead? YES J NO
2. TO DEFENSE ATTORNEY:

Do you know any legal reason why defendant should not plead guilty?
YES NO
DEFENDANT TO ANSWER

3. Are you o with your legal representation up until this point?

YES NO

 

3a. What is your plea? @ v) | { 7

4, Are you making the plea of suityotuntarty and of your own free will?
YES NO

5. Has anyone threatened or forced you to plead guilty? YES “A O_
6. Other than the agreement with the government as stated on the record,

No

7. Has anyone made any promise to you as to what your sentence will be?
YES___ NO 4

8. Did you, as charged in Count One , on or about and between September

has anyone made any promises that caused you to plead guilty? YES

4, 1998 and January 10, 2002 execute a scheme to defraud the insurance companies named in the
indictment? (summarize the accounts/acts charged in the Count in the indictment).

9. Describe in your own words what you did in connection with the acts
charged in Count One. (You do not have to fill this in. The Court will take this portion in open
Court).

10. The government is to outline their proof.

11. Based upon the information given to me, I find the defendant is acting

voluntarily, fully understands his/her rights and the consequences of his/her plea and that there is a
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factual basis for the plea. I, therefore, accept the plea of guilty to Count(s) One of the

 

 

Superseding Indictment.
GNX Lhe
(Defendant) UO r (Attorney)

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